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Charge of Discrimination Agency Charge Number
This form is affected by the Privacy Act of 1974; Sea Privacy Act Statement Qo FEPA
before completing this form. ox EEOoc | Amendment to Charge: 420-2013-01860C
NAME (Indicate Mr., Ms., Mrs.) HOME TELEPHONE (area Area Code)
RaeMonica Camey 334-685-4623
STREET ADDRESS, CITY, STATE, AND ZIP CODE DATE OF BIRTH

 

2601 Stringer Street, Dothan, AL 36303 Pe

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR LOCAL GOVERNMENT
AGENCY WHO DISCRIMINATED AGAINST ME (If more than one list below)

 

NAME CITY OF DOTHAN NUMBER OF EMPLOYEES, MEMBERS 15+ | TELEPHONE 334-615-3000

 

STREET ADDRESS CITY, STATE, AND ZIP CODE . COUNTY
126 North St. Andrews Street, Dothan, AL 36303 net

 

 

CAUSE OF DISCRIMINATION BASED ON: DATE DISCRIMINATION TOOK PLACE EARLIEST (ADEA/EPA)
Xo RACE oCOLOR XoSEX oRELIGION cAGE LATEST (ALL) 1999 through December 16, 2013

 

Xo RETALIATION co NATIONAL ORGIN_o DISABILITY o OTHER | 0 CONTINUING ACTION

 

THE PARTICULARS ARE

 

I ama Black female, I was hired in May 2005 as police officer. In addition to my duties as a police officer, I am a
Community Watch Coordinator, Crime Stoppers Coordinator, and a Recruiting Team Member. Despite having been
assigned these additional duties, I have not been promoted, nor have I received any additional compensation. Throughout
my employment, White male employees with less experience have been promoted at a faster rate than I have. White male
employees with less experience are paid more thanI am. Furthermore, I have been subjected to harassment from White
male employees, but management is turning other cheek. The harassment began when I began speaking up for the rights
of minorities who I believed the department was targeting and treating differently. Additionally, the department is
undermining my position by limiting my access to certain departmental computer applications. Several White male
co-workers complained about my having access to TipSoft, a web-based application that shows tips coming in from the
public, I had used that application in the past to help solve crimes. I believe that the department is limiting my access so
that I cannot assist in solving those crimes and so that other White male employees can take the credit. I have also
noticed that on recent required tests, some of my answers have been counted wrong, even though they were clearly
correct. When I challenged one incorrect grading on an ethics test, my White superior officer refused to look into it or
correct my grade. In recent a firearms test, several of my shots were not counted as having hit the mark, and I received a
score in the 80’s. I pointed out to my White superior officer the proof where I had only missed a couple of shots. He
gave me credit for some, but not all of the shots made. This concerns me, because the results of these tests can be used to
affect both my current position and my chances for future advancement. I was recently suspended for an alleged breach
of the department’s social media policy for posting my views online about a newsworthy event. Several of my White
co-workers complained to management that my comments were racist (they clearly were not), simply because they did not
agree with my views. The department suspended me without pay pending a hearing before the personnel board. Nothing
that I posted would disparage or otherwise place the department in a negative light. One of the White co-workers even
called me a racist on my Facebook page. I have been told that I will be assigned to desk duty following my return from
my suspension. A White male will assume my former duties. Additionally, I stand to be placed on a two-year probation
in which any further disciplinary action could be used to terminate my employment | believe that | am being harassed
and discriminated against on the basis of my race, Black, and my sex, female, in violation of Title VII of the Civil Rights
Act of 1964, as amended.

AS AMENDED: _ | was originally hired in or around June 1999. I took a year of leave in 2004 and returned in 2005.
Since the events stated in the above-referenced charge, I was placed on a 10-day, unpaid suspension, demoted to desk
duty, had several major areas of responsibility removed, and was placed on a two-year probation. The department
terminated my employment on December 16, 2013 based on unfounded allegations of “gross insubordination.” I believe
the department’s actions constitute further discrimination and harassment based on my race and sex and are in violation of
the retaliatory provisions of Title VII of the Civil Rights Act of 1964, as amended.

 

I want this charge filed with both the EEOC and the State or local Agency, If any. I will Notary - (When necessary for State and Local Requirements
advise the agencies if | change my address or telephone number and | will cooperate fully
with them in the processing of my charge in accordance with thew procedures

 

I swear or affirm that 1 have read the above charge and that it is true and correct to the best of my knowledge,
information, and belief.

 

 

I declare under penalty of perjury that the foregoing is true and SIGNATURE OF COMPLAINANT 7 bMehuce) Copunang

 

 

correct ,

Date: 11 Det 20 12

Charging Party (Signature) Op VW of \Cans SURSCRIBED,AND 3% SWORN TO BEFORE ME THIS DATE (Day, Month, and Year) /f. Lee GS
1 XS

 

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My Commission Bipines
July 11, 2016
